    USDC IN/ND case 2:17-cv-00033-PRC document 36 filed 12/18/17 page 1 of 3


              Case: 17-3565                   Document: 1-2           Filed: 12/18/2017     Pages: 2



     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                      Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                            Phone: (312) 435-5850
             Chicago, Illinois 60604                                                  www.ca7.uscourts.gov




                                                    NOTICE OF CASE OPENING
 December 18, 2017


                                         JOHN DOE,
                                         Plaintiff - Appellant

 No. 17-3565                             v.

                                         PURDUE UNIVERSITY, et al.,
                                         Defendants - Appellees

  Originating Case Information:

 District Court No. 2:17-cv-00033-PRC
 Northern District of Indiana, Hammond Division
 Magistrate Judge Paul R. Cherry
 Clerk/Agency Rep Robert N. Trgovich

 Case filed: 12/18/2017
 Case type: cv/pri
 Fee status: Paid
 Date of Judgment: 11/15/2017
 Date NOA filed: 12/15/2017



The above-captioned appeal has been docketed in the United States Court of Appeals for the
Seventh Circuit.
 Deadlines:

 Appeal No.             Filer                              Document                 Due Date

                                                           Docketing statement
 17-3565                John Doe                                                    12/22/2017
                                                           due



 17-3565                John Doe                           Transcript information   01/02/2018
   USDC IN/ND case 2:17-cv-00033-PRC document 36 filed 12/18/17 page 2 of 3


           Case: 17-3565             Document: 1-2                   Filed: 12/18/2017             Pages: 2



                                                      sheet



 17-3565           John Doe                           Appellant's brief                   01/29/2018




NOTE: This notice is issued to counsel of record, in furtherance of the revised Circuit Rule 3(d), to provide necessary
information regarding this appeal. Please verify this notice for accuracy. Counsel are encouraged to provide a fax
and/or e-mail address to the court. If any corrections are necessary, please indicate those corrections on this notice
and return it to the Clerk's Office within ten (10) days.

THIS NOTICE SHALL NOT ACT AS A SUBSTITUTE FOR MOTIONS FOR NON-INVOLVEMENT /
SUBSTITUTION OF COUNSEL. COUNSEL ARE STILL REQUIRED TO FILE THE APPROPRIATE MOTIONS.



Important Scheduling Notice!

     Notices of hearing for particular appeals are mailed shortly before the date of oral argument. Criminal
     appeals are scheduled shortly after the filing of the appellant's main brief; civil appeals after the filing of the
     appellee's brief. If you foresee that you will be unavailable during a period in which your particular appeal
     might be scheduled, please write the clerk advising him of the time period and the reason for such
     unavailability. Session data is located at http://www.ca7.uscourts.gov/cal/calendar.pdf. Once an appeal is
     formally scheduled for a certain date, it is very difficult to have the setting changed. See Circuit Rule 34(e).




 form name: c7_Docket_Notice(form ID: 108)
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              Case: 17-3565                  Document: 1-3   Filed: 12/18/2017     Pages: 1



     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



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        Room 2722 - 219 S. Dearborn Street                                   Phone: (312) 435-5850
             Chicago, Illinois 60604                                         www.ca7.uscourts.gov




                                         NOTICE OF DOCKETING - Short Form
 December 18, 2017


 To:         Robert N. Trgovich
             Clerk of Court

 The below captioned appeal has been docketed in the United States Court of Appeals for the
 Seventh Circuit:

                    Appellate Case No: 17-3565

                    Caption:
                    JOHN DOE,
                    Plaintiff - Appellant

                    v.

                    PURDUE UNIVERSITY, et al.,
                    Defendants - Appellees


                    District Court No: 2:17-cv-00033-PRC
                    Magistrate Judge Paul R. Cherry
                    Clerk/Agency Rep Robert N. Trgovich

                    Date NOA filed in District Court: 12/15/2017


 If you have any questions regarding this appeal, please call this office.



 form name: c7_Docket_Notice_short_form(form ID: 188)
